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     Assistant Federal Defender
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5
     Attorney for Defendant
6    SHELLBY L. MOORE
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,                   ) Case No. 2:16-cr-00147-MCE
                                                  )
11                     Plaintiff,                 ) STIPULATION AND ORDER TO
                                                  ) CONTINUE STATUS CONFERENCE
12             vs.                                )
                                                  ) Date: December 15, 2016
13    SHELLBY L. MOORE,                           ) Time: 10:00 a.m.
                                                  ) Judge: Hon. Morrison C. England, Jr.
14                     Defendant.                 )
                                                  )
15                                                )
16
               IT IS HEREBY STIPULATED by and between Phillip A. Talbert, U.S. Attorney,
17
     through, Michelle Rodriguez, Assistant United States Attorney, attorney for Plaintiff, and
18
     Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney
19
     for Shellby L. Moore that the status conference, currently scheduled for December 15, 2016, be
20
     continued to January 12, 2017 at 10:00 a.m.
21
               Defense counsel recently received all remaining discovery in the case and requires
22   additional time to review discovery with the defendant and pursue investigation.
23             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24   excluded of this order’s date through and including January 12, 2017; pursuant to 18 U.S.C.
25   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
26   based upon continuity of counsel and defense preparation.
27   ///
28   ///
     Stipulation to Continue Status Conference        -1-                           U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 53 Filed 01/05/17 Page 2 of 3



1            Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3                                                  Respectfully submitted,

4    Dated: December 12, 2016                      HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ Noa E. Oren
6                                                  NOA E. OREN
                                                   Assistant Federal Defender
7                                                  Attorney for Defendant
8    Dated: December 12, 2016
                                                   PHILLIP A. TALBERT
9                                                  United States Attorney
10                                                 /s/ Michelle Rodriguez
                                                   MICHELLE RODRIGUEZ
11                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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     Stipulation to Continue Status Conference       -2-                            U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 53 Filed 01/05/17 Page 3 of 3



1                                                    ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds
4    the failure to grant a continuance in this case would deny counsel reasonable time necessary for
5    effective preparation, taking into account the exercise of due diligence. The Court further finds
6    the ends of justice are served by granting the requested continuance and outweigh the best
7    interests of the public and defendant in a speedy trial.
8            Time from the date the parties stipulated, up to and including January 12, 2017, shall be
9    excluded from computation of time within which the trial of this case must be commenced under
10   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv) [reasonable time for
11   counsel to prepare] and General Order 479, (Local Code T4). It is further ordered the December
12   15, 2016 status conference shall be continued until January 12, 2017, at 10:00 a.m.
13           IT IS SO ORDERED.
14   Dated: January 4, 2017
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     Stipulation to Continue Status Conference          -3-                             U.S. v Moore, 16-cr-147
